         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 1 of 30




                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF COLUMBIA

____________________________________
STEVEN E. SHAW                       )
      1981 Grandon Loop Road         )
      Virginia Beach, VA 23456,      )
                                     )
      Plaintiff,                     )
                                     )
      v.                             )               CIVIL ACTION NO.
                                     )
THE HONORABLE MARK T. ESPER          )
      Secretary of Defense           )
      Department of Defense          )
      1000 Defense Pentagon          )
      Washington, DC 20301-1000,     )
                                     )
THE HONORABLE KENNETH                )
BRAITHWAITE                          )
      Secretary of the Navy          )
      Department of the Navy         )
      1000 Navy Pentagon, Room 4D652 )
      Washington, DC 20350,          )
                                     )
      Defendants.                    )

                                         COMPLAINT

       Plaintiff, Lieutenant (Lt.) Steven Shaw, United States Navy (“Navy”), by and through

undersigned counsel, files this Complaint against the defendant, alleging as follows:

                                            PARTIES

1. Plaintiff Lt. Shaw is an active duty officer in the Navy.

2. Defendant Dr. Esper is the Secretary of Defense and is named in his official capacity as the

   head of the Department of the Defense (DoD), which has failed to timely act on an appeal of

   substantiated findings of Military Whistleblower Relation.

3. Defendant Mr. Braithwaite is the Secretary of the Navy and is named in his official capacity
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 2 of 30




   as the head of the Department of the Navy (DON), which has failed to timely implement

   certain corrective actions upon a finding of substantiated whistleblower reprisal.

                                  JURISDICTION AND VENUE

4. This action is brought under the Administrative Procedures Act (APA), 5 U.S.C. § 701, et

   seq, due to Defendants’ failures to act on an appeal and implement corrective action under

   Military Whistleblower Reprisal Protection Act (MWPA), 10 U.S.C. § 1034, as well as

   Defendant Braithwaite’s depravation of Lt. Shaw’s constitutional rights to Due Process and

   disregard for procedures required by law.

5. The APA permits judicial review of final agency by which an individual is adversely affected

   or aggrieved. 5 U.S.C. §§ 702, 704. Final agency action is defined as an agency’s “failure to

   act.” 5 U.S.C. § 551(13). The declaratory relief requested herein is proper under 5 U.S.C. §§

   706(1)-(2).

6. Venue is proper in this Court under 28 U.S.C. § 1391(e) because this is the judicial district in

   which Defendants are located and is where a substantial part of the events or omissions

   giving rise to the claim occurred.

                                         INTRODUCTION

7. During April 2017 two black student fighter pilots (SPs) in Strike Fighter Squadron 106

   (VFA-106) approached a white fighter pilot instructor, Lt Shaw, out of concerns with regard

   to the bases of their respective failed progressions. They were the only two black SPs in

   VFA-106 during their tenures, respectively. Such low numbers of minorities in Naval

   Aviation has been a continuing trend throughout the Navy’s history. In 1949, Jesse Brown

   became the first black fighter pilot in Navy history. Seventy-two years later there are still

   only twenty-four black fighter pilots in the Navy. In July 2020 the Navy winged its first


                                           Page 2 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 3 of 30




   black woman Navy jet pilot after 47 years of women serving in aviation. Out of more than

   7,000 Naval Aviators only five are black women. Lieutenant Shaw scrutinized the

   circumstances and found that both pilots had cause for concern and should formally raise

   those concerns through the Navy’s Equal Opportunity (EO) process and Congressional

   Inquiries. Lieutenant Shaw assisted in these filings.

8. Once the Navy learned Lt. Shaw was responsible for making this information available

   outside of the Navy, the Navy undertook a deliberate and far reaching scheme to undermine

   his credibility and destroy his Naval career through the pursuit of a retaliatory command

   directed investigation (CDI) and numerous administrative actions intended to strip him of a

   security clearance, his Naval Aviator wings, promotion, and reputation.

9. The Secretary of the Navy, after being confronted with the reprisal activity as substantiated

   by the DoD Inspector General (IG), on or about January 2020, directed that all of the adverse

   actions be rescinded which were premised on the corrupt CDI. The investigation process was

   corrupt in that the investigator was found to have written statements for witnesses, and

   witnesses were found to have made false official statements in support of the adverse actions

   being pursued against Lt. Shaw. In addition, investigating officials confirmed that the

   allegations of racist activity were found to be substantiated, which was communicated via

   telephone, but when the report was written up they were determined to officially be only

   partially substantiated, and months later, fully unsubstantiated. The Secretary of the Navy

   also authorized another “clean” investigation be conducted on Lt. Shaw, focused on the same

   issues and witnesses with a caveat that neither the witnesses nor the investigator could rely

   on their previous statements.




                                           Page 3 of 30
          Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 4 of 30




                                   FACTUAL BACKGROUND

                                      Whistleblower Reprisal.

10. Lieutenant Shaw commissioned in the Navy in May 2009. In October 2016, he transferred

    from VFA-131 to VFA-106 at Naval Air Station (NAS) Oceana, Virginia, as an F/A-18

    Instructor Pilot (IP).

11. Beginning in April 2017, Lt. Shaw became intertwined with the EO cases of two African

    American SPs in VFA-106. Both SPs were experiencing racial discrimination at the hands of

    numerous IPs and the chain of command at VFA-106. The extent of the racial discrimination,

    which resulted in the disenrollment of both SPs from the F/A-18 training pipeline, 1 was quite

    alarming, and included such acts as derogatory comments about the two in a WhatsApp

    communication group amongst IP graduates of the Naval Academy; this group referred to

    themselves as the “Pure Bloods.” Lieutenant Shaw’s involvement consisted of assisting the

    two SPs in drafting congressional inquiries and EO complaints, and correspondence with

    Senator Mark Warner’s office on the matter.

12. In November 2017, Lt. Shaw was approached by numerous SPs regarding the illegal practice

    of gambling between pilot instructors and students in exchange for alcohol called “bottle

    bets” during the recent Carrier Qualification (CQ) phase of instruction, which are described

    as follows:


1
  Following completion of the EO investigation, one of the pilots was reinstated in training. See
https://www.military.com/daily-news/2019/07/11/marine-pilot-will-get-2nd-shot-fighter-
training-after-racial-bias-investigation.html (last visited December 10, 2019). The other pilot was
discharged from the Navy prior to completion of the investigation. The EO investigations, which
were previously substantiated by Vice Admiral Miller, have since been unsubstantiated by Rear
Admiral Kelley following publication of DoD IG report of whistleblower retaliation, discussed
herein. The appeals of those investigations are ongoing, and are the subject of a lawsuit in this
Court under the Freedom of Information Act. Case No. 1-19-cv-02983-ABJ.


                                           Page 4 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 5 of 30




                 Bottle bet wagers are wagers between the [Landing Signal Officer
                 (LSO)] instructors and student pilots related to the student’s
                 performance (i.e., catching the target wire, maintaining a certain
                 boarding rate, no technique wave offs or bolters) during CQ that
                 were paid off with bottles of alcohol. The LSO instructor would
                 grade the student’s performance and inform them at the completion
                 of the CQ as to the outcome of their bet.

   One of the concerns besides the illegal gambling activity, fraternization between instructors

   and students, and fostering of a frat- like culture/ atmosphere of alcohol consumption within

   the Naval Air community, was that the practice was geared by the instructor LSO’s to

   manipulate student performance given that the assignment of marks was entirely within their

   discretion.

13. Lieutenant Shaw filed a complaint with the United States Fleet Forces Command (USFF) IG

   office on November 3, 2017, informing that the bottle bets were being conducted in violation

   of 5 C.F.R. § 2635.301, “Gifts Between Employees.” Attached to the IG complaint were

   several supporting documents, including correspondence informing the SPs that “[a]ll bets

   must be settled prior to receiving CQ stamp in logbook.” The USFF IG forwarded the matter

   to the Commander, Naval Air Forces Atlantic (CNAL) IG, which then sent a copy of the

   complaint to the Commander, Strike Fighter Wing Atlantic, who in turn forwarded it to the

   LSO community; a large uproar resulted within VFA-106 and the LSO community, and the

   complaint was soon distributed across the entire fleet.

14. On December 15, 2017, the Executive Officer (XO) for VFA-106, Lieutenant Colonel (Lt.

   Col.) Nesbitt, held an all-instructor meeting, during which he said that “bets [bottle bets] are

   a naval aviation tradition, and if anyone wants to make bets, they can.” He also publicly

   announced that there would be negative consequences for anyone who seeks redress through

   IG channels. With no resolution being taken to discontinue the bottle bets, Lt. Shaw felt it


                                            Page 5 of 30
           Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 6 of 30




   necessary to elevate the issue to Senator Warner’s office, which he did on December 19,

   2017.

15. Senator Warner’s office forwarded the matter to the Naval Inspector General

   (NAVINSGEN), and an IG investigation was opened. Upon best information and belief,

   Commander (Cmdr.) Roberts, the former head of the LSO school and the individual who

   ended up serving as the IO for the CDI against Lt. Shaw, learned of the IG investigation, and

   sent correspondence to the CNAL (Rear Admiral (Adm.) Roy Kelley), the Commander,

   Naval Air Forces (CNAP/F) (Vice Adm. DeWolfe Miller), and the Chief of Naval Air

   Training (CNATRA) stating that he was “attempting to check” his emotions, but could not

   “hide [his] passion,” and that he had “serious concerns” for the Navy’s heritage, culture, and

   warrior ethos if it “len[t] credence to individuals that do not have the character or fortitude to

   address these issues in person.”

16. On February 24, 2018, the CNAF, Vice Adm. Miller–the same individual who initially

   substantiated the EO investigations of the two African American SPs but then remanded

   them for further investigation allowing them to become unsubstantiated–released a message

   to all Naval Air forces terminating the practice of bottle bets. Vice Admiral Miller wrote, in

   part, that “practices like bottle bets with landing signal officers casts those in positions of

   leadership and mentoring as betting against the success of their charges … And practices

   where instructors expect to receive gifts from their students do not reflect who we are.”

17. Upon receipt of Vice Adm. Miller’s message terminating bottle bets, and upon best

   information and belief, Cmdr. Roberts wrote a rage fueled email encompassing his disdain

   for those who brought about the end of this practice, and insinuating that the command had

   cowed to Lt. Shaw’s IG complaints. He concluded his email with, “Don’t get me wrong; I’m


                                            Page 6 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 7 of 30




   not trying to burn this place down. I want to burn the rest of the motherf*****’s houses

   down, so ours is the one left standing. The last beacon of hope and a safe haven for those that

   still believe in what we should stand for.”

18. On March 6, 2018, Cmdr. Roberts composed another email stating “bottle bets are forbidden

   … after a malcontent VFA-106 core IP launched a Navy and congressional IG on tradition

   that dates back to straight decks on the Great Lakes. Giant can of worms that I’m considering

   on how to unleash on the world.”

19. On April 4, 2018, an article regarding the racial discrimination against the two African

   American SPs Lt. Shaw previously assisted was published on Military.com. Lieutenant Shaw

   was quoted in the article expressing his belief that “the uniform nature of pilot culture creates

   a breeding ground for implicit biases of all kinds to take hold, including racial, gender, and

   even personality-based prejudice.” The article “drew the ire” of many of the IPs. Indeed,

   upon best information and belief, Lt. Col. Nesbitt was quoted saying, “I’m going to destroy

   him,” which, to others, appeared to be a statement expressing his intent to retaliate against Lt.

   Shaw.

20. On April 5, 2018, Cmdr. Martin Weyenberg, then Commanding Officer (CO) of VFA-106,

   called Lt. Shaw to discuss the Military.com article and informed Lt. Shaw that he would be

   left off the flight schedule for April 6, 2018, to let people “calm down.” During the call,

   Cmdr. Weyenberg also discussed whether Lt. Shaw was teaching the “standard,” and that if

   Lt. Shaw “had different techniques for doing things in the aircraft, ‘that was okay, after he

   [Lt. Shaw] finished the Instructor Under Training (IUT) syllabus.”

21. Following the publication of the Military.com article, Lt. Shaw’s command forced him to

   undergo a command directed assessment of his “mental state,” a euphemism for a command


                                           Page 7 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 8 of 30




   directed mental health evaluation convened for the purpose of giving the command reason to

   take further adverse administrative action against Lt. Shaw.

22. On April 11, 2018, an all-instructor meeting was held to discuss syllabus and instructional

   standardizations, and the process for IPs to submit change requests. This was the first time

   such information was disseminated in a public setting to the IPs, and based on the timing of

   the meeting in relation to the publication of Military.com article–of which the entire squadron

   had knowledge–it was apparent the meeting was convened to publicly debase Lt. Shaw.

23. The very next day, on April 12, 2018, per the guidance provided at the all-hands meeting, Lt.

   Shaw submitted four change requests to his chain of command and all VFA-106 IPs, one of

   which recommended introducing mechanisms into the syllabus that encouraged individuals

   to, or at least protected individuals who do, “speak up.” Lieutenant Shaw’s expressed

   concern when submitting the change requests was that “[t]he kind of ostracism and

   retaliation [he] received for reporting institutionalized illegal behavior [bottle bets], such as

   being recommended to a mental health evaluation, send[s] a very clear message that anyone

   who attempts to improve or change the organization for the better will be met with extreme

   negative and potentially career-ending consequences.” Upon best information and belief, Lt.

   Col. Nesbitt forwarded his copy of the email to his personal email account. He also

   forwarded a copy of the email to Cmdr. Roberts to use as evidence in the CDI.

24. On April 25, 2018, one of the SPs, Lieutenant Junior Grade (Lt. j.g.) Ryan Rojeski,

   disqualified (DQ) during CQ due to an in-flight engagement caused by a late wave-off from

   the LSOs standing on the flight deck. Lieutenant Junior Grade Rojeski was required to attend

   a Performance Review Board (PRB)–which ended up being three, as the first two were

   deficient. During each one of the Boards, Lt. j.g. Rojeski was asked whether he had worked


                                            Page 8 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 9 of 30




   with Lt. Shaw in preparation for the CQ, and was told he would be given a “free pass” if he

   implicated Lt. Shaw in any wrongdoing. While Lt. j.g. Rojeski said he had worked with Lt.

   Shaw in other phases of training, he did not receive any training from Lt. Shaw during CQ.

25. Despite the fact that flight data proved Lt. j.g. Rojeski’s DQ was caused by a late wave-off

   from squadron LSOs, and had nothing to do with Lt. Shaw, for the first time, Lt. Shaw was

   directed not to work with the SPs on May 3, 2018.

26. The next day, May 4, 2018, Lt. Col. Nesbitt and Cmdr. Weyenberg met with a Staff Judge

   Advocate (SJA) to receive guidance on potential courses of action against Lt. Shaw. During

   this meeting, Lt. Shaw’s command purposefully misrepresented certain facts, in order to

   receive guidance that would fit their desired end state of having a CDI that was “conducted

   via ‘concrete legal means.’” They insinuated that Lt. Shaw was teaching “unauthorized CQ

   techniques” to SPs which had resulted in mishap or injury, purposefully omitting the fact that

   Lt. j.g. Rojeski, the one SP they were referring to, did not receive any such instruction from

   Lt. Shaw.

27. Based on the misleading information, the SJA advised Lt. Shaw’s command to issue Lt.

   Shaw a letter of instruction (LOI) to serve as a formal counseling document to note any

   deficiencies, and to see if Lt. Shaw’s conduct improved. Alternatively, the SJA advised that

   if the command felt the LOI would not be useful, then they could initiate a CDI with “a

   neutral third party” to serve as the IO, and once the investigation was complete, the findings

   could be reviewed to determine the next steps. The command elected to pursue the CDI

   because they had “a lot of suspicions, but [not] a lot of evidence,” and they wanted to “go in

   and dig a little bit more.” This same SJA was then ultimately used by the command as the




                                           Page 9 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 10 of 30




   legal advisor in an attempt to make the CDI appear “neutral” in the event the CDI was

   appealed.

28. With the approval to convene a CDI from a “neutral” judge advocate, Lt. Shaw’s command

   began drafting the appointing order. The proposed scope of the investigation covered the

   following alleged violations:


               a. The dissemination of inappropriate information/techniques and
               use of non-standardized instructional methods to junior students
               and aircrew IRT [in relation to] landing on board USS Ship [CQ
               phase]. The scope of these techniques is not limited to only the
               CVN environment, but the VFA-106 F/A-18 FRS syllabus.

               b. The misuse of VFA-106 share drive information, and deliberate
               use of false impressions IOT [in order to] embarrass instructor
               cadre, create false impressions to former VFA-106 students, and
               misrepresent facts IRT racial bias within the unit to the media IOT
               further personal objectives, undermining the chain of command.

               c. The level, appropriateness and integration of the Complainant’s
               relationship to junior students. Specifically, the use of his position
               as a future instructor, more experienced aviator and senior [Lt.] to
               further personal objectives, creating a non-graded evaluation
               system.

               d. Failure to inform, utilize, and allow the chain of command to
               address and solve problems.

               e. Not following orders when directed not to continue to instruct
               and interact with students.

               f. The deliberate allowance of the expiration of his personal SWIM
               PHYS [Aviation Physiology Training and Aviation Water Survival
               Training Program qualifications] IOT prevent being involved in
               Strike training onboard NAS Fallon, [Nevada].

               g. Allowing junior aircrew to be blamed, ridiculed and mistreated
               after deliberately filing an Inspector General Complaint.




                                           Page 10 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 11 of 30




29. After two days of collaboration and discussion on the scope, a CDI was appointed with

   Cmdr. Roberts–the former head of the LSO school, and thus a significant influence in the

   community which had been conducting the illegal bottle bets–to serve as the IO. The scope

   of the CDI changed drastically from the draft, and was reduced to the following:

               a. The dissemination of inappropriate information/techniques and
               use of non-standardized/reviewed instructional methods to junior
               students and aircrew IRT CAT-1 Carrier Qualification. The scope
               of your inquiry is not limited to only the CVN [carrier]
               environment, but also the VFA-106 F/A-18 FRS syllabus, and
               whether the instruction provided by [Lt. Shaw] comports with the
               Naval Air Training and Operating Procedures Standardization.

               b. The misuse of VFA-106 share drive information and sharing
               inappropriate information for unauthorized purposes.

               c. The level, appropriateness and integration of [Lt. Shaw’s]
               relationship to junior students. Specifically, the use of his position
               as an instructor, more experienced aviator and senior lieutenant for
               inappropriate or unauthorized reasons, including, but not limited
               to, his contact with 17-4 student pilots and his alleged direct
               involvement in PRB discussions between a student and the PCO
               [prospective commanding officer].

30. Shortly after being appointed as the IO, Cmdr. Roberts sent an email stating that he was

   appointed as “the investigating officer into a [VFA-]106 IP [Lt. Shaw] who has been f*****g

   some s**t up in all our worlds,” and that he was specifically appointed because “[t]hey

   need[ed] a bullet-proof O-5 willing to kamikaze this guy.” He concluded his email stating

   that he was “looking forward to it in a very weird way.”

31. Throughout the investigation, Cmdr. Roberts engaged in questionable “investigative

   techniques,” to include:

           a. Shaping witness statements: In approximately 30 instances, Cmdr. Roberts sent

   witnesses and non-CDI personnel his personally prepared LSO recommendation document



                                           Page 11 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 12 of 30




   with his perceived acceptable techniques for carrier landings, as well as witness statements

   from other CDI witnesses. He also provided the witnesses with proposed language for their

   statements which Cmdr. Roberts said would help him substantiate his findings and

   recommendations against Lt. Shaw.

           b. Creating bias against Lt. Shaw: In at least 20 instances, Cmdr. Roberts attempted to

   create witness bias against Lt. Shaw by disclosing Lt. Shaw’s previous IG filings, and

   opining that Lt. Shaw would likely file more IG complaints in the future. Commander

   Roberts also requested multiple “offline” conversations with senior naval personnel in

   positions that could influence Lt. Shaw’s career, and discouraged them from having Lt. Shaw

   join their squadrons.

           c. Exclusion of favorable or exculpatory evidence: Cmdr. Roberts purposefully

   excluded statements from the CDI witnesses who provided testimony in support of Lt. Shaw.

   One in particular informed Cmdr. Roberts that he had served with Lt. Shaw at his previous

   command, VFA-131, and that while there, Lt. Shaw, with the assistance of this individual

   who was also an LSO, had developed CQ training materials that were known within the

   command (thereby impacting Cmdr. Roberts’ ability to argue that Lt. Shaw taught techniques

   unknown by the command or in violation of any order from VFA-131 not to instruct the

   material). After Cmdr. Roberts learned of this information, he declined to receive a written

   statement from the witness, stating “he had pretty much gotten everything he needed or

   wanted for his investigation at that point.”

32. It was readily apparent that Cmdr. Roberts’ sole purpose in conducting the CDI was to assist

   the command in justifying future actions. By May 24, 2018, well over a month before the

   investigation concluded, and after only speaking with five witnesses (two of whom were


                                           Page 12 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 13 of 30




   provided draft statements by Cmdr. Roberts), Cmdr. Roberts sent an email to the command

   stating he already had enough information to justify convening a FNAEB, which is a

   subjective review board convened under MILPERSMAN 1610-020 to determine whether the

   individual should be allowed to continue serving as a Naval Aviator.

33. On June 25, 2018, Naval Criminal Investigative Services (NCIS) was contacted by Cmdr.

   Roberts to open an investigation on Lt. Shaw for allegedly recording videos in flight

   simulators at VFA-106 and for sharing the videos (supposed classified information). This

   was presumably based on Cmdr. Robert’s interview of one of the CDI witnesses, Lt. Keedy,

   who said Lt. Shaw showed him a video of what he (Lt. Keedy) believed was a flight

   simulator. Despite Lt. Keedy stating that he saw no classified information in the videos,

   Cmdr. Roberts sought an investigation into Lt. Shaw for mishandling classified information.

   The NCIS agent was briefed on this information, and found insufficient evidence to initiate

   an investigation–even with the low threshold burden of proof required for the initiation of an

   investigation and the titling of a subject. On July 3, 2018, Lt. Col. Nesbitt, without sufficient

   command authority and evidence to do so, then suspended Lt. Shaw’s access to classified

   information on the basis of the same unsubstantiated allegation. An incident report was also

   placed in Lt. Shaw’s Joint Personnel Adjudication System (JPAS) Account, triggering an

   investigation by the DoD Consolidated Adjudication Facility (CAF) into whether Lt. Shaw

   should be permitted to retain his security clearance, and ultimately a

   recommendation/preliminary determination by DoD CAF to revoke Lt. Shaw’s security

   clearance.

34. On July 19, 2018, upon best information and belief, Cmdr. Roberts emailed a draft copy of

   the CDI from his personal email account to another person stating, “Let the light at the end of


                                           Page 13 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 14 of 30




   the tunnel be a train. May this attachment be that train.” Commander Roberts recommended

   the command take criminal action against Lt. Shaw.

35. Following his review of the CDI, Cmdr. Brandon Scott (then-current VFA-106 CO), notified

   Lt. Shaw that he would be convening a Human Factors Board (HFB)–designed to assess

   personal issues negatively impacting flight performance, even though Lt. Shaw had shown no

   poor flight performance and had been prohibited from flying months earlier. The HFB

   convened on August 2, 2018. Three of the four members of the HFB were permitted to

   review the CDI prior to the HFB convening (a copy of which had not been provided to Lt.

   Shaw, despite his request).

36. Around the same time, Cmdr. Scott issued Lt. Shaw Temporary Assigned Duty (TAD) orders

   to the Air Operations Department at the base control tower. He was relegated to the corner of

   the Assistant Operations Officer’s Office for approximately 1 month, after which he was

   moved to the lobby (where he remains to this day), essentially as a public display and

   warning to others on what consequences to expect should they also report wrongdoings.

37. On or about August 15, 2018, Lt. Shaw was notified that the DoD IG would be investigating

   potential whistleblower reprisal against him by Lt. Col. Nesbitt (VFA-106 XO), Cmdr.

   Weyenberg (former VFA-106 CO), Cmdr. Roberts (CDI IO), and Cmdr. Scott (then-current,

   now-former, VFA-106 CO).

38. On August 29, 2018, pursuant to Cmdr. Robert’s recommendation for disciplinary action, Lt.

   Shaw was offered NJP under Article 15, UCMJ, alleging five specifications of Article 92

   (Failure to obey order or regulation): (1) that Lt. Shaw failed to obey lawful orders issued at

   both VFA-131 and VFA-106 not to teach techniques detailed in the “F-18 Ball Flying

   Techniques” white paper; (2) that Lt. Shaw failed to obey an order not to use a recording


                                          Page 14 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 15 of 30




   device inside a flight simulator by making a recording at some point between September

   2016 and January 2018; (3) that Lt. Shaw failed to follow an order by Lt. Col. Nesbitt by

   having communication with Lt. j.g. Rojeski on divers occasions between May 3, 2018 and

   July 20, 2018; (4) that Lt. Shaw failed to obey an order by Lt. Col. Nesbitt not to enter the

   F/A-18 Flight Simulator Facility student ready room; and (5) that Lt. Shaw failed to obey an

   order from Lt. Col. Nesbitt not to instruct SPs in phases he was not qualified to teach.

39. Upon advice of military defense counsel, and knowing that the allegations were based on

   evidence derived from a faulty investigation (despite the fact he was still precluded from

   reviewing the CDI, and that other officers, outside the chain-of-command and without a

   “need to know”–to include officers in a separate unit in a separate state: VT-21, a unit in

   Kingsville, Texas–had been permitted to review, and/or were informed of the content of, the

   investigation) Lt. Shaw exercised his right to refuse NJP and demanded that the command try

   him on these alleged charges by trial at a court-martial. Following discussion with an SJA,

   Cmdr. Scott elected not to pursue court-martial charges. This is presumably because the SJA

   advised that the evidence gathered during the CDI was not only unreliable and tainted by

   unlawful whistleblower retaliation, but that there was insufficient evidence to sustain a

   conviction on any of the alleged charges.

40. Instead of pursuing criminal charges, which would be subject to judicial scrutiny and afford

   Lt. Shaw the right to have a detailed military defense counsel, Cmdr. Scott, by and through

   the direction and convening authority power of Rear Adm. Kelley, elected to convene a

   FNAEB, which is an administrative action solely under the discretion and direction of the

   chain of command, and at which Lt. Shaw is not afforded the right to counsel. The use of a

   FNAEB is almost exclusively reserved for instances resulting in damage to aircraft or gross


                                          Page 15 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 16 of 30




   error while flying, and not the supposed violations committed by Lt. Shaw. He was notified

   on October 3 that the board was to be held on October 9, 2018 (despite having pre-approved

   leave for October 5 – 9, 2018). The same charges previously presented at NJP were used as

   the bases for the FNAEB.

41. The FNAEB was held over several days in October 2018–the length and delay of which was

   largely due to myriad procedural violations which caused multiple adjournments of the

   board. A bulk of the evidence presented by the command at the hearing was the retaliatory

   CDI. One of the main government witnesses presented at the FNAEB was Lt. Col. Nesbitt.

   He testified that he gave certain in-person orders to Lt. Shaw on dates that Lt. Shaw was not

   even physically present at VFA-106, but rather on leave. As an attempt to corroborate his

   testimony, the government provided a copy of, what was purported to be, Lt. Col. Nesbitt’s

   personal diary that reflected certain dates he says he spoke with Lt. Shaw. The diary was

   directly sourced from Lt. Col. Nesbitt.

42. In the midst of the FNAEB, on or about October 11, 2018, Lt. Shaw was notified that his

   promotion to Lt. Cmdr. was being withheld.

43. The Senior Member of the FNAEB issued his final report on October 23, 2018, in which he

   recommended a Class B(1) classification, which would terminate Lt. Shaw’s flight status

   while retaining his right to wear the insignia of a Naval Aviator.

44. On October 31, 2018, Lt. Shaw was provided a copy of the FNAEB report, along with a

   Report of Officer Misconduct which recommended that Lt. Shaw “show cause” for his

   retention in the Navy. Enclosed with the FNAEB report was a copy of Lt. Col. Nesbitt’s

   journal.




                                             Page 16 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 17 of 30




45. On November 2, 2018, the CNAL SJA, Lt. Cmdr. Colberg, confirmed that the CDI was still

   considered “open,” as it had not yet been approved or endorsed by the higher chain of

   command. This means all administrative and disciplinary action taken as a result of the CDI

   up to that point, to include the HFB, NJP, FNAEB, and Report of Officer Misconduct, were

   premature.

46. Lieutenant Shaw submitted a rebuttal to both the FNAEB report and Report of Officer

   Misconduct on November 14, 2018, with a request that Cmdr. Scott and Lt. Col. Nesbitt be

   recused from the decision making process as both individuals were under investigation by the

   DoD IG for whistleblower reprisal.

47. Despite the request for his recusal, Cmdr. Scott none the less endorsed both the Report of

   Officer Misconduct and the FNAEB Report, recommending that Lt. Shaw be “detached for

   cause,” removed from the Fiscal Year 19 Lt. Cmdr. Promotion List, ordered to show cause

   for retention in the Navy, and that he receive a Class B(2) classification, which is termination

   of his flight status and revocation of his right to wear Naval Aviator wings–a more severe

   recommendation than the one provided by the FNAEB, and, upon best information and

   belief, possibly one of the most severe outcomes of all FNAEBs ever held in the Navy.

48. On November 19, 2018, a day after endorsing the FNAEB report, Cmdr. Scott endorsed the

   underlying retaliatory CDI, which had been pending his endorsement for three months.

49. Around the same time, Cmdr. Scott also “unfavorably” closed the incident report in JPAS,

   resulting in DoD CAF issuing a notice of proposed revocation of Lt. Shaw’s security

   clearance nearly one year later, in October 2019.

50. On December 31, 2018, Lt. Shaw’s Aviation Career Incentive Pay (ACIP), or “flight pay,”

   was suspended in accordance with the FNAEB instruction governing Class B


                                          Page 17 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 18 of 30




   recommendations. This resulted in Lt. Shaw being deprived of $650 in pay per month. In

   addition to the monthly pay cut, the suspension was backdated to October 23, 2018, the date

   of the FNAEB report, resulting in Lt. Shaw being indebted to the Navy for $801.67.

51. In January 2019, Cmdr. Scott also authored an adverse Fitness Report, documenting the

   alleged misconduct that had never been adjudicated.

52. Beginning in January 2019, there was constant coordination between Lt. Shaw’s civilian

   attorney and Rear Adm. Kelley’s office to meet with him regarding his endorsement of the

   FNAEB report. For nearly one year, Rear Adm. Kelley’s office continuously delayed

   rendering a decision. This was, in part, due to the fact that the DoD IG investigation, which

   implicated many of the officers who had a hand in the FNAEB, was on going, as well as the

   on-going EO investigation initiated by Vice Adm. Miller.

53. In May 2019, Lt. Shaw was notified that he had not been selected for Aviation Department

   Head by the screening board–a necessary billet for any officer desiring to succeed in his or

   her Naval career.

               DoD IG Investigation: Substantiation of Whistleblower Reprisal.

54. On June 12, 2019, the DoD IG informed Lt. Shaw that it had substantiated whistleblower

   reprisal against Lt. Shaw by Lt. Col. Nesbitt, Cmdr. Weyenberg, and Cmdr. Roberts. The

   DoD IG specifically found that the CDI had been initiated to “punish, harass, and ostracize”

   Lt. Shaw. The DoD IG recommended the Secretary of the Navy take appropriate action to

   remedy any harm to Lt. Shaw’s career which resulted from the actions of these individuals.




                                          Page 18 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 19 of 30




55. As a result of these findings, on August 5, 2019, Lieutenant Colonel Nesbitt was relieved of

    his position as the XO of VFA-106. 2

56. The very next day, August 6, 2019, Cmdr. Scott convened a “command climate” survey.

    From the concentration of comments focused solely on Lt. Shaw as well as the consistency of

    language within the various responses, it appears that those surveyed were instructed by the

    higher command to provide answers that were damning to Lt. Shaw. And, given the timing of

    this survey in close proximity to the Tailhook convention in September 2019, it appears that

    the survey was conducted as a means to garner “evidence” against Lt. Shaw and an attempt

    to subvert the DoD IG’s findings.

57. The Tailhook Association Convention took place September 5-8, 2019. This convention is

    highly publicized and attended by many throughout the Naval fleet as well as retired Naval

    Aviators. Prior to a questions-and-answer panel conducted by several Flag Officers, to

    include Vice Adm. Miller and Rear Adm. Kelley, Vice Adm. Miller notified the panelists

    that there would be a question presented to the panel about an IG investigation and that Rear

    Adm. Kelley would be answering the question–in other words, a question was planted for

    specific purpose of being addressed by Rear Adm. Kelley. The question was posed by two

    IPs from VFA-106, Cmdr. Caponigro (VFA-106 Operations Officer who was serving as the

    XO following Lt. Col. Nesbitt’s relief from command) and Lt. Cmdr. Scarbro (who also

    happened to have served as a member on Lt. Shaw’s FNAEB); they asked the panel if the
2
  See https://www.navytimes.com/news/your-navy/2019/08/09/navy-fires-marine-xo-of-the-
gladiators/ (last visited February 7, 2020). Lieutenant Colonel Nesbitt was then reinstated in
September 2019; notwithstanding the Secretary of the Navy’s affirmation of the DoD IG’s
finding of whistleblower retaliation, Lt. Col. Nesbitt continues to serve in this position and
continues to instruct pilots. See https://www.navytimes.com/news/your-
navy/2019/09/14/marines-clear-xo-fired-from-the-navys-gladiators/ (last visited February 7,
2020).


                                           Page 19 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 20 of 30




   senior leadership in the Navy was doing anything to protect mid-level officers against junior

   officers who “weaponized” the IG against their bosses. Rear Admiral Kelley prefaced his

   response with, “That’s a delicate question.” He then stated that that the DoD IG is an

   “independent” organization, exclusive of the Navy “leadership” on the panel, and that

   unfortunately, the Navy cannot “change” the DoD IG’s findings. The Navy leadership are

   concerned that someone “abused” the IG system (i.e., Lt. Shaw), and that the Navy

   leadership are trying to see what preventions they can have the DoD IG put in place to ensure

   lower level individuals cannot abuse the IG system in the future. Rear Admiral Kelley

   concluded his remarks by stating that the Navy itself will have to make sure that any internal

   investigations it conducts (such as the CDI into alleged misconduct by Lt. Shaw) are

   perfectly “clean.” In other words, it matters not the intent behind a CDI; it only matters that

   they ensure it is “appellate proof” so that any allegation which is initiated as whistleblower

   retaliation cannot be overturned.

58. On December 16, 2019, Mr. Gregory Slavonic, Assistant Secretary of the Navy (Manpower

   and Reserve Affairs), by and through the direction of the Secretary of the Navy, and upon

   review of the DoD IG findings, invalidated the CDI, and ordered the following to occur: (1)

   Correct and/or remove any adverse or derogatory material that resulted from the invalid CDI;

   (2) no later than December 18, 2019, advise the DoD CAF that the CDI (which formed the

   basis for the incident report in JPAS, suspension of Lt. Shaw’s access to classified

   information, and the recommendation for revocation of Lt. Shaw’s security clearance) had

   been invalidated; and (3) Chief of Naval Personnel (CNP) must determine whether Lt.

   Shaw's professional or promotion opportunities may have been impacted as a result of




                                           Page 20 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 21 of 30




   reprisal, retaliation, and restriction and, if so, CNP is ordered to take remedial action. All

   corrective action was ordered to be completed by February 14, 2020.

59. In the same correspondence, the Assistant Secretary authorized the convening of a second

   CDI into similar bases as the first CDI. This disposition was approved by the Secretary of the

   Navy in correspondence to Representative Elaine G. Luria of January 10, 2020, though then-

   Acting Secretary Modly made no mention of the second CDI to Representative Luria.

                                       Continued Retaliation.

60. On or about the same day the Secretary authored his correspondence to Representative Luria,

   Adm. Grady initiated a second CDI into Lt. Shaw with nearly the exact same scope as the

   previous CDI: (1) whether Lt. Shaw, without authorization, recorded F/A-18 Tactical

   Operational Flight Trainer sessions; and (2) whether Lt. Shaw was conducting unauthorized

   training (such as Velocity Vector), or was otherwise outside the normal training phases.

   Upon best information and belief, the IO for this CDI, Captain (Capt.) Charles Hampton,

   U.S. Navy, served as the Executive Assistant to Defendant Adm. Grady. Upon best

   information and belief, Capt. Hampton had been utilizing his private and personal email to

   conduct the investigation and correspond with witnesses, and that Capt. Hampton has been

   ordered to disregard any exculpatory evidence from the previous investigation or obtained

   during this investigation.

61. Upon best information and belief, this second CDI was convened as deflection and to absolve

   the senior Navy leadership (i.e., Rear Adm. Kelley, Vice Adm. Miller, and Adm. Grady) of

   knowingly permitting racial discrimination within the Navy. Each one of these three officers

   was involved with the EO investigations of the two African American SPs who were

   wrongfully discharged from F/A-18 training at VFA-106 due to racial bias and


                                           Page 21 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 22 of 30




    discrimination. If Lt. Shaw can be deemed unsafe, then the senior Navy leadership are better

    able to justify unsubstantiating the allegations of racial discrimination in the respective EO

    investigation. Thus, the second CDI is not only retaliatory, but is being used to “clean up”

    other internal Navy investigations which have highlighted the systemic racial discrimination

    within the Navy’s Aviation community, and specifically VFA-106.

62. On March 24, 2020, 3 Lt. Shaw appealed the Assistant Secretary’s authorization to convene

    the second CDI. In accordance with 10 U.S.C. § 1034, the appeal was submitted to the

    Secretary of Defense. The Secretary of Defense is required to act on the appeal within 90

    days. As of the date of this filing, Defendant Esper has failed to act on the appeal.

63. Upon best belief and information, the second CDI was stayed with the intent to allow the

    appeal process to proceed to conclusion. However, on or about June 29, 2020, Lt. Shaw

    learned the second CDI had resumed, on or about April 22, 2020, with a new IO and advising

    SJA (since the previous two individuals had been “reassigned”). Navy Capt. David Wroe was

    appointed as the new IO. The second CDI was ordered to be completed by July 15, 2020.

64. Since the inception of the original CDI, and in addition to the various adverse personnel and

    administrative actions he has suffered (despite those adverse actions having been ordered to

    be set aside), Lt. Shaw has been ostracized, treated like a criminal, and precluded from

    flying. He suffered grave reputational harm; given the small environment that is the active,

    retired, and former Naval aviation community, this reputational harm will continue to plague

    him even after he is able to leave the Navy.




3
 This is the date the physical copy of the appeal was delivered to the Office of the Secretary of
Defense.


                                            Page 22 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 23 of 30




65. He has also been placed on legal hold, which has precluded him voluntarily leaving the

   Navy, despite the expiration of his service obligation. He continues to remain on legal hold

   due to the convening of the second CDI, which has not yet been finalized. Not only is he now

   being held past his end of obligation, but he is being precluded from resigning his

   commission–the only thing that would allow him some escape from this now-never-ending,

   vicious cycle of retaliation. Furthermore, the corrective action previously ordered by the

   Assistant Secretary has yet to be implemented–save the removal of two adverse fitness

   reports.

                                   FIRST CAUSE OF ACTION
                                  (Administrative Procedure Act)

       The Secretary of the Navy has unlawfully withheld and unreasonably delayed the
                                      corrective action.

66. All preceding paragraphs are incorporated by reference as though fully set forth herein.

67. The APA requires agencies to act on matters pending without unreasonable delay. Factors

   considered when determining whether there has been unreasonable delay include: (1) the

   length of delay; (2) the reasonableness of the delay compared to the context of the statute

   which authorizes the agency’s action; and (3) the consequence of the delay.

68. The delay in this matter has been significant: 409 days have lapsed since the DoD IG

   substantiated the acts of whistleblower reprisal, 379 days have lapsed since the Secretary of

   the Navy was statutorily required to render a decision on corrective action, and 222 days

   have lapsed since the Assistant Secretary of the Navy issued the decision on the appropriate

   corrective action.

69. To put the unreasonableness of tis delay into context, the same two primary allegations being

   raised have already been considered and acted upon in 13 separate administrative and


                                          Page 23 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 24 of 30




   disciplinary actions including a commanding officer’s determination that these allegations

   "do not meet prosecutorial merit.” In contrast, Captain Crozier, former Commanding Officer

   of the USS Theodore Roosevelt was twice investigated and adjudicated within the same time

   frame that this ongoing appeal has been pending.

70. The corrective action ordered to be taken included, inter alia: (1) the correction or removal of

   any adverse or derogatory material that resulted from the CDI; (2) notification to DoD CAF

   that the CID had been invalidated; and (3) for the Chief of Naval Personnel to determine

   whether Lt. Shaw’s professional or promotion opportunities may have been impacted as a

   result of the reprisal and, if so, to take remedial action. To date, the only remedial action that

   has occurred, to Lt. Shaw’s best belief and knowledge, was the removal of two adverse

   fitness reports. All other ordered corrective action has yet to be taken. This in turn has had a

   detrimental affect on Lt. Shaw. He continues to languish in the same holding pattern that he

   has for the past two years, and without his rightful promotion.

71. When compared to the context of the statutory deadlines, this delay is unreasonable. The

   MWPA is designed to protect any service member who makes a protected communication,

   and restore any deprivation of rights or reverse administrative wrongs that occurred in

   retaliation against the member for making the protected communication. The deadlines set

   forth in this statute make clear that Congress intended for these reparations to occur in an

   expedited fashion. The Service Secretaries only have 30 days from the date of finding of

   substantiated whistleblower retaliation to make a decision on the corrective actions and to

   implement those actions; as previously discussed, 379 days have now lapsed since the

   Secretary of the Navy was required to implement the action and 222 days have lapsed since

   the Assistant Secretary of the Navy ordered the corrective action. This delay is unreasonable.


                                           Page 24 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 25 of 30




72. Most critical to this Court’s determination in this matter, though, is the consequences of the

   Secretary’s delay. As discussed above, Lt. Shaw’s circumstance remains unchanged as if no

   substantiation of whistleblower reprisal ever occurred, unable to serve and unable to move on

   with his life. Thus, the delay is unreasonable.

73. Accordingly, because the Secretary of the Navy’s failure to implement the corrective action

   has resulted in unreasonable delay, this Court must mandate the Secretary of the Navy to

   implement the requisite corrective action.

                                  SECOND CAUSE OF ACTION
                                  (Administrative Procedure Act)

      The Secretary of the Defense’s decision on Lt. Shaw’s appeal has been withheld and
                                    unreasonably delayed.

74. All preceding paragraphs are incorporated by reference as though fully set forth herein.

75. The APA requires agencies to act on matters pending without unreasonable delay. Factors

   considered when determining whether there has been unreasonable delay include: (1) the

   length of delay; (2) the reasonableness of the delay compared to the context of the statute

   which authorizes the agency’s action; and (3) the consequence of the delay.

76. The delay in this matter has been significant; the DoD IG’s substantiation of whistleblower

   reprisal occurred on June 12, 2019. Once an allegation of whistleblower reprisal has been

   substantiated, the Service Secretary has 30 days to determine whether corrective action

   should be taken, and then take such action. The Secretary of the Navy did not comply with

   this statutory mandate; 222 days lapsed before the Assistant Secretary of the Navy rendered

   his decision. If a service member disagrees with the Service Secretary’s decision, he may

   appeal the matter to the Secretary of Defense, who shall act on the appeal within 90 days.

   Now, 123 days have lapsed since the Secretary of the Defense received the most recent


                                           Page 25 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 26 of 30




   appeal for action. That is 33 days in excess of the statutory deadline.

77. When compared to the context of the statutory deadlines, this delay is unreasonable. The

   MWPA is designed to protect any service member who makes a protected communication,

   and restore any deprivation of rights or reverse administrative wrongs that occurred in

   retaliation against the member for making the protected communication. The deadlines set

   forth in this statute make clear that Congress intended for these reparations to occur in an

   expedited fashion. The Service Secretaries only have 30 days from the date of finding of

   substantiated whistleblower retaliation to make a decision on the corrective actions and to

   implement those actions; if the Service Secretary denies any corrective action and the service

   member appeals, the Secretary of Defense then only has 90 days to act on the appeal. In sum,

   this entire process is designed to take approximately 120 days. In Lt. Shaw’s case, the

   Secretaries’–of both the Navy and Defense–decisions on the substantiated whistleblower

   retaliation have been pending for a combined total of 409 days (well over one year). When

   compared with the unambiguous intent of the statutory framework, the delay in this case has

   been unreasonable.

78. Moreover, current circumstances in the military–specifically, recognition by one or more

   military branch that there has been racial inequality in certain areas, including military

   justice–warrant consideration. On June 3, 2020, 71 days after Lt. Shaw’s appeal was

   submitted, Dr. Esper was quoted as saying:

              Racism is real in America, and we must all do our very best to
              recognize it, to confront it, and to eradicate it. I've always been
              proud to be a member of an institution – the United States military
              – that embraces diversity and inclusion and prohibits hate and
              discrimination in all forms.

              More often than not, we have led on these issues. And while we


                                           Page 26 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 27 of 30




               still have much to do on this front, leaders across DOD and the
               services take this responsibility seriously, and we are determined to
               make a difference. 4

79. Since then, Dr. Esper has directed a six-month long “Defense Board on Diversity and

    Inclusion,” and announced as recently as last week more than nine DoD-wide initiatives to

    combat racism in the military. 5 All the while, the clear and straightforward determination to

    stop the continued reprisal against Lt. Shaw through the ongoing investigation has been left

    untouched. It is difficult to ignore the contradicting and hypocritical message being sent that

    at once, Dr. Esper takes seriously the matter of racism in the military, but at the same time

    allows blatant unlawful retaliation against any individual who attempts to report or stand

    against such racism. His current efforts and initiatives are immediately undermined by his

    failure to act in a timely manner regarding Lt. Shaw’s appeal. Most critical to this Court’s

    determination in this matter, though, is the consequences of the Secretary’s delay. The crux

    of Lt. Shaw’s appeal to the Secretary of Defense was that there had been a finding of

    substantiated whistleblower retaliation–the Assistant Secretary of the Navy recognized as

    much when he ordered corrective action–but that the decision to authorize a second CDI both

    constituted continued whistleblower retaliation–and was outside the scope of the Assistant

    Secretary of the Navy’s authority under the MWPA. Thus, while the appeal continues to

    languish, Lt. Shaw continues to be under a renewed investigation that is nearly identical to

    the one that was deemed to have been retaliatory. When the agency’s inaction amounts to the

    same injury as a denial, the delay must be considered unreasonable. The Navy allowing the


4
  See https://www.defense.gov/Newsroom/Transcripts/Transcript/Article/2206685/secretary-of-
defense-esper-addresses-reporters-regarding-civil-unrest/ (last visited July 23, 2020).
5
   See https://connectingvets.radio.com/articles/esper-announces-immediate-actions-against-
racism-in-military (last visited July 23, 2020).


                                           Page 27 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 28 of 30




   second CDI to continue while this appeal is being processed has the same effect as though it

   were denied, and essentially nullifies the due process intended by the option to appeal under

   10 U.S.C. § 1034 in the first place. Thus, the delay is unreasonable.

80. Accordingly, because the Secretary of Defense’s failure to render a decision on the appeal

   has resulted in unreasonable delay, this Court must mandate the Secretary of Defense to issue

   a decision.

                                   THIRD CAUSE OF ACTION
                                  (Administrative Procedure Act)

    The Secretary of the Navy’s authorization to proceed with the second CDI absent final
    action by the Secretary of Defense on the appeal constitutes continued reprisal and is
                          contrary to legally required procedures.

81. All preceding paragraphs are incorporated by reference as though fully set forth herein.

82. The APA authorizes reviewing courts to hold unlawful and set aside agency action that is

   either contrary to constitutional rights or without observance of procedure required by law.

83. Defendant Braithwaite’s authorization of the second CDI to continue absent final decision by

   Defendant Esper on the pending appeal is a violation of Lt. Shaw’s constitutional right to

   Due Process and contrary to procedures required by law.

84. The MWPA affords a service member certain administrative appellate rights following the

   Service Secretary’s issuance of a decision. Specifically, if a service member disagrees with

   the Service Secretary’s decision, then the only other avenue for appellate review is

   submission of the matter to the Secretary of Defense. 10 U.S.C. § 1034(h).

85. Inherently, this congressionally created administrative right contemplates that any action

   directed by the Service Secretary with which the service member disagrees will not be acted

   upon until the Secretary of Defense has a chance to review the action.



                                           Page 28 of 30
         Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 29 of 30




86. Here, not only has Defendant Braithwaite disregarded this legally required procedure, but in

   so doing, has also engaged in continued retaliation and reprisal against Lt. Shaw. This

   Second CDI serves no legitimate government purpose. Its scope is purportedly restricted to

   the same two allegations. A determination has already been made that these same alleged

   charges did not sustain the low standard for referral of charges (reasonable cause) to a court

   martial and administratively the charges are barred by the statute of limitations and he has

   already been notified to show cause why he should remain in the service, albeit entirely as a

   result of reprisal activity. Consequently, no additional administrative actions can be levied

   upon Lt Shaw. Given that this is a criminal investigation there appears to be no valid end

   state to achieve from its conduct other than the purpose to harass, punish, and stigmatize him.

   This continued retaliation and reprisal, which Lt. Shaw has been suffering under for the past

   two years, is nothing short of prejudicial.

87. Accordingly, this Court should find that Defendant Braithwaite authorizing the second CDI

   to continue while the appeal to the Secretary of Defense remains pending is contrary to

   legally required procedures and therefore unlawful.

                                                RELIEF

Wherefore, Lt. Shaw prays that this Honorable Court conduct a speedy hearing and direct the

following relief:

       1. Direct the Secretary of the Navy to implement all previous corrective actions, to

           include the following non-exhaustive list:

               a. Promotion to the rank of Lt. Cmdr., backdated to September 2019, along with

                    all appropriate back pay;

               b. Full selection status as a department head;


                                           Page 29 of 30
        Case 1:20-cv-02036-RDM Document 1 Filed 07/25/20 Page 30 of 30




              c. Restoration of flight status and pilot currency;

              d. Full Back pay of ACIP beginning October 23, 2018; and

              e. Retraction of the derogatory VFA-106 Hazard Report (HAZREP) dated

                  September 10, 2018;

       2. Direct the Secretary of Defense to act on the appeal;

       3. Set aside the current second CDI;

       4. That Lt. Shaw be awarded the costs and reasonable attorney's fees incurred in

          bringing this action, pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412

          and the Privacy Act, 5 U.S.C. § 552a; and

       5. Such other relief as may be deemed necessary or appropriate in order to accord full

          and complete relief.

                                              Respectfully submitted,


                                              ___/s/ Eric. S. Montalvo___________
                                              Eric S. Montalvo, DC Bar No. 993206
                                              THE FEDERAL PRACTICE GROUP
                                              1750 K Street N.W., Suite 900
                                              Washington, D.C. 20006
                                              Telephone:      (202)862-4360
                                              Facsimile:      (888)899-6053
                                              emontalvo@fedpractice.com

Dated: July 25, 2020                          /s/ William R. Cowden
                                              William R. Cowden
                                              DC Bar #426301
                                              WILLIAM COWDEN LLC
                                              1750 K Street, N.W., Suite 900
                                              Washington, DC 20006
                                              (202) 808-3140 (office) / (888) 899-6053 (fax)
                                              wcowden@cowdenllc.com

                                              Counsel for Plaintiff



                                          Page 30 of 30
